      Case 2:10-cv-02890-ILRL-KWR Document 10 Filed 11/01/10 Page 1 of 1



                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

KERSTIN SHINN                 *                      CIVIL ACTION
                              *                            NO. 10-2890
                              *
versus                        *                      SECTION B
                              *                           JUDGE LEMELLE
                              *
OCHSNER HEALTH SYSTEM         *                      DIVISION 4
** ** ** ** ** ** ** ** ** ****                            MAGISTRATE ROBY

                    MOTION TO STRIKE AFFIRMATIVE DEFENSES

       NOW INTO COURT, through undersigned counsel, comes Plaintiff Kerstin Shinn who,

pursuant to Federal Rule of Civil Procedure 12(f), moves to strike the affirmative defenses of

Defendant Ochsner Community Hospitals. Grounds in support of Plaintiff’s Motion are set forth

in the accompanying memorandum.

                                             Respectfully submitted,
                                             LAW OFFICE OF DALE EDWARD WILLIAMS

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                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing document has been served via the CM/ECF
system, which will send a notice of electronic filing to all counsel of record on this, the 1st day
of November 2010.

                                             /s/Dale E. Williams




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